                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


LAVALL T. LEE,

                       Plaintiff,

               v.                                             Case No. 20-C-396

WILLIAM JAMES,

                       Defendant.


                 ORDER DENYING “MOTION TO PROTECT WITNESS”


       Plaintiff in the above matter is an inmate at Racine Correctional Institution (RCI) who

claims that he was subjected to excessive force by two correctional officers. The case is before

the court on Plaintiff’s motion to conduct written depositions at RCI to protect the witnesses from

Covid-19. The motion is denied. Plaintiff has signed subpoenas for several witnesses to appear

and provide evidence in his case. However, because he has failed to tender witness fees, service

is ineffective. See Fed. R. Civ. P. 45(b)(1). Because Plaintiff has not paid any witness fees, the

proposed witnesses have no obligation to appear and provide evidence. Plaintiff also asks that the

court issue an order as to how Plaintiff Lee is to pay the witness fee of $40.00 for the proposed

witnesses. Plaintiff’s motion is denied, but by way of explanation, Plaintiff is advised that the

rules governing this action do not authorize payment of witness fees on behalf of indigent

plaintiffs. Nor does the court have authority to waive witness fees on an indigent’s behalf. Aiello

v McCaughtry, 94-1935, 1996WL420456 *3 (7th Cir. July 25, 1996).

       Finally, I note that discovery deadline in the case was October 30, 2020. Thus, Plaintiff

would not be able to conduct further discovery in this case in any event. To the extent that Plaintiff




         Case 1:20-cv-00396-WCG Filed 11/06/20 Page 1 of 2 Document 64
wishes to call these witnesses should the case proceed to trial, he may renew his request that the

witnesses be made available. Under the Federal Rules of Evidence, the court has the authority to

call witnesses on its own, and the court is willing to exercise that authority for a witness whose

presence may be necessary to reach a just result. Fed. R. Evid. 614(a). In any event, for the

foregoing reasons, Plaintiff’s motion to conduct written depositions is denied.

       SO ORDERED at Green Bay, Wisconsin this 6th day of November, 2020.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach
                                                     United States District Judge




                                                2

         Case 1:20-cv-00396-WCG Filed 11/06/20 Page 2 of 2 Document 64
